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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
   LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC


   This document relates to:                        ORDER RE: NON-PARTY
                                                    CORRESPONDENCE
   See Order




       The Court has received a letter from a Ms. Alicia Murphy, who identifies herself as a

plaintiff in a Roundup lawsuit. Ms. Murphy’s letter asserts that she settled her case but that the

amount of money she ultimately received was significantly lower than the settlement figure she

agreed to. She criticizes her lawyer’s conduct.

       The letter contains the MDL case number and suggests that Ms. Murphy’s lawsuit was

part of this litigation. However, there is no record of a Roundup case filed in this Court under
Ms. Murphy’s name, and Special Master Feinberg’s office advised that it had no record of

mediating Ms. Murphy’s case. The Court doesn’t doubt that Ms. Murphy filed or settled a

Roundup lawsuit. But this Court only handled Roundup cases filed in federal court, and it

doesn’t have the power to oversee cases (or lawyers) that are not part of the federal litigation.

       The Clerk is directed to mail this order to Ms. Murphy, whose address will be provided

by the Courtroom Deputy.
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       IT IS SO ORDERED.

Dated: February 16, 2024
                                   ______________________________________
                                   VINCE CHHABRIA
                                   United States District Judge




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